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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA

                                       Criminal Minutes

Date: October 22, 2020                              Judge: Honorable Charles R. Breyer

Court Reporter: Ana Dub
Time: 10 Minutes
Case No.: CR19-0287-1 CRB
Case Name: USA v. Jose Luis Arteaga Vasquez (Custody)(Present)

Attorney(s) for Government: Sailaja Padipaty
Attorney(s) for Defendant(s): Brian Berson
Interpreter: Spanish – Nina Safdie
Probation Officer: Jessica Goldsberry

Deputy Clerk: Lashanda Scott


                                        PROCEEDINGS

Due to COVID-19 pandemic, all parties consent to having this matter heard by video conference.
Sentencing hearing held. The Court sentenced the defendant to the Bureau of Prisons to a term
of time served. Defendant placed on supervised release for a term of 4 years under the usual
terms and conditions and the special conditions. The Court finds the defendant does not have the
ability to pay a fine and Orders it waived. The defendant shall pay a special assessment of $100.
Refer to Judgment for additional information. Government’s Motion to Dismiss all remaining
counts – Motion Granted. Defendant in custody at Santa Rita Jail.
